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                                                                  The plea and sentencing scheduled for October
BY ECF                                                            22, 2020 at 11:00 a.m. is hereby adjourned.
                                                                  Because of the process of scheduling criminal
Honorable Alison J. Nathan                             10/20/20   proceedings for defendants who are in custody,
United States District Judge                                      the Court cannot accommodate defense counsel's
                                                                  requested dates. By no later than October 23,
Southern District of New York
                                                                  2020, the parties shall indicate whether they
500 Pearl Street                                                  would be available on November 5, 2020 at 9
New York, New York 10007                                          a.m.; November 10, 2020 at 9 a.m. or 11 a.m.;
                                                                  and November 12, 2020 at 9 a.m. or 11 a.m.
Re: United States v. Tayquan Tucker, 15 Cr. 95 (AJN)              SO ORDERED.


Dear Judge Nathan:

I am in receipt of the Court’s Order issued today setting the plea/sentencing date in this
matter for October 22, 2020 at 11:00am. Unfortunately I am already scheduled for
sentencing hearing on another matter at that exact time. Thus, I would most
respectfully request that the Court set the plea/sentencing hearing for later that
afternoon or another date. I am available at anytime on October 21st, the afternoon of
October 23rd, the afternoon of the 26th and anytime on the 27th.

Thank you very much for your patience and consideration in this matter and I apologize
for any inconvenience this causes to the Court.

Respectfully submitted,

David Touger
David Touger, Esq.
